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' BY z W D.c.
lN THE UN|TED STATES DISTRlCT MRT
FOR THE WESTERN DlSTRlCT OF TEU§I§&_SE§ nn \\2 \-\\&

 

WESTERN D|VlSlON
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UN|TED STATES OF AMER|CA G'E§?;H)U{j§f W:SEHWB

P|aintiff
VS.

CR. NO. 05-20132»D

DAVlD ALANlS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DE|_AY
AND SETT|NG

 

This cause is scheduled for a report date on Ju|y 21, 2005. Counse| for the
defendant filed a motion seeking a continuance due to the unavailability of a flight caused
bye the severe weather conditions associated with Hurricane Emily.

The Court granted the motion and reset the trial date to September 6, 2005 with a
report date of Thursday, August 25, 2005l at 9:00 a.m., in Courtroom 3, 9th F|oor of the
Federa| Building, Memphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

n is so oRoEREo this QZA" day of July, 2005.

B N|CE B. D NALD
UN|TED STATES DlSTRlCT JUDGE

This document entered on the docket sheet in compliance

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UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 33 in
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Honorable Berniee Donald
US DISTRICT COURT

